 

Case 3:17-cv-00101-RDM Document 331 Filed 07/08/19 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONSUMER FINANCIAL
PROTECTION BUREAU,
Plaintiff
: 3:17-CV-101
V. : (Judge Mariani)
NAVIENT CORPORATION, et al.,
Defendants.
SPECIAL MASTER ORDER #39

Now, this 8th day of July, 2019, IT IS HEREBY ORDERED THAT the agenda for the
telephonic status conference scheduled for July 9, 2019 at 11:00 a.m. shall include, but not
be limited to, the following matters:

1. The status of Defendants’ submission of unredacted and redacted non-
spreadsheet and spreadsheet documents to the Federal Deposit Insurance
Corporation and any other pertinent bank regulators for the purpose of
ascertaining whether the Bank Examination Privilege will be waived as to the
redacted content.

2. The status of discovery and the ability to complete fact discovery within the
established deadline.

3. The question of whether the confidentiality designation on certain documents
should be lifted.

4. The telephonic conference call scheduled for 11:00 a.m. on July 9, 2019 shall be
placed to 570-207-5605.

 
 

Case 3:17-cv-00101-RDM Document 331 Filed 07/08/19 Page 2 of 2

s/ Thomas |. Vanaskie
THOMAS |. VANASKIE
SPECIAL MASTER

 
